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                                                                      USDCSDNY
UNITED STATES DISTRICT COURT                                          DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                         ELECTRONICALLYEIJ..ED
                                                                      DOC#:~~~.........-.-~-
 KRISTINA KUCKER, et al.,                                             DATE FILED:       11
                                Plaintiff,                     14c

                        -against-                              ORDER APPROVING
                                                               SETTLEMENT, SERVICE
 PETCO ANIMAL SUPPLIES STORES, INC.,                           AWARDS, AND ATTORNEYS'
                                                               FEES AND COSTS
                                Defendant.


DEBRA FREEMAN, United States Magistrate Judge:

       In this action under the Fair Labor Standards Act ("FLSA") and state law, before this

Court on the consent of the parties pursuant to 28 U.S.C. § 636(c), the parties, having reached an

agreement in principle to resolve the action, have placed their proposed settlement agreement

before this Court for approval. See Cheeks v. Freeport Pancake House, Inc., 796 F.3d 1999 (2d

Cir. 2015) (requiring judicial fairness review of FLSA settlements). In connection with their

request for judicial approval of the settlement, certain proposed service awards, and their

requested attorneys' fees and costs, Plaintiffs have also made a substantial, unopposed

submission detailing why they believe the proposed settlement, including the service awards and

the proposed award of fees and costs, would be fair, reasonable, and adequate. (See Motion for

Settlement Approval (Dkt. 148); supporting Memorandum of Law in Support of the Motion for

Settlement Approval (Dkt. 149); supporting Declaration of Molly A. Brooks, Esq. ("Brooks

Deel."), and exhibits thereto (Dkt. 154); additional supporting declarations (Dkts. 151, 152).)

Further, at the Court's request, the parties have jointly supplemented Plaintiffs' original

submissions with a letter addressing certain issues that were raised by the Court upon its initial

review of Plaintiffs' motion for approval of the settlement. (Dkt. 155.) This Court has now

reviewed all of the parties' submissions in order to determine whether the proposed agreement
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represents a reasonable compromise of the claims asserted in this action. In light of the totality

of the relevant circumstances, including the representations made in the parties' submissions, the

terms of the proposed settlement agreement, and this Court's own familiarity with the strengths

and weaknesses of the parties' positions, it is hereby ORDERED as follows:

        1.       The Court finds that the terms of the proposed settlement agreement (Brooks

Deel., Ex. A) are fair, reasonable, and adequate, both to redress the claims made in this action by

the named Plaintiffs and opt-in members of the FLSA collective, to compensate the named

Plaintiffs for their service, and to compensate Plaintiffs' counsel for their legal fees and costs,

and the agreement is therefore approved, except that - with the understanding that the parties are

prepared to consent to this modification - paragraph 5.2 ("Release by Service Award

Recipients") shall be considered modified to read as follows:

                 In addition to the waiver and release contained in Section 5.1
                 above, the service award recipients, their respective heirs,
                 executors, administrators, successors and assigns, voluntarily
                 release and forever discharge Defendants, and any of their owners,
                 subsidiaries, divisions, affiliated entities, agents, officers,
                 principals, trustees, administrators, executors, attorneys,
                 employees, former employees, insurers, reinsurers, predecessors,
                 successors and assigns, both individually and in their official
                 capacities (collectively "Releasees") of and from any actions,
                 causes of action, suits, debts, dues, sums of money, accounts,
                 reckonings, bonds, bills, specialties, covenants, contracts,
                 controversies, agreements, promises, judgments, obligations, union
                 grievances, claims, charges, complaints, appeals and demands
                 whatsoever, in law or equity, which they may have against
                 Releasees as of the date of execution of this Agreement, whether
                 known or unknown, asserted or unasserted, that were either raised
                 in this action or that could have been raised in this action,
                 including any claim for costs, fees, or other expenses, including
                 attorneys' fees, based upon any conduct occurring up to and
                 including the date of each service award recipient's execution of
                 this Agreement.




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If any party does not, in fact, consent to this modification of the settlement agreement, then such

party shall immediately inform the Court of its lack of consent.

        2.          The Court approves the proposed Notice of Settlement and the proposed plan for

its distribution.

        3.          The Court approves the Service Awards for named plaintiffs Kristina Kueker,

Sonny Urbine, Magda Alexandra Sereno, Amy Doidge, Jill Filippone, and Heather Bradshaw.

        4.          The Court grants Plaintiffs' request for attorneys' fees and out-of-pocket costs.

        5.          The Court approves Rust Consulting, Inc., as the Settlement Claims

Administrator.

        6.          The Court notes that this Order does not incorporate the terms of the parties'

proposed agreement. Nonetheless, in accordance with the parties' request, this Court will retain

jurisdiction over this matter for the purpose of enforcing the settlement agreement, if necessary.

        7.          As a result of the Court's approval of the parties' proposed settlement, and the

fact that the parties have placed before the Court a fully executed copy of their settlement
                     I


agreement, this action is hereby dismissed with prejudice.

        8.          The Clerk of Court is directed to close this case on the Docket of the Court.

Dated: New York, New York
       April 11, 2017

                                                          SO ORDERED



                                                           DEBRA FREEMAN
                                                           United States Magistrate Judge

Copies To:
All Counsel (via ECF)




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